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September 21, 2019                                                        ijii>TbiCT OF HH

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Clerk
US District Court                                                             s lU. LI L?
55 Pleasant Street, Room 110
Concord, NH 03301-3941

Dear Clerk of the Court:


Enclosed you will find my materials for a civil lawsuit. Included is:

        1. A credit card authorization for the $400 payment of the court filing fee
        2. A civil cover sheet
        3. Three summonses(one for each defendant)
        4. Two copies of my complaint(one for the court, one to be stamped and returned)

Please assign a judge and case number for this matter, stamp the summonses to be served on the
defendants, and return one stamped copy of my complaint with the summonses to:

        Travis Jared Park
        13918 E Mississippi Ave. #152
        Aurora, CO 80012

Sincerely,




Travis Jared Park
13918 E Mississippi Ave. #152
Aurora. CO 80012
tjcpe{@protonmail.com
(720)737-3215
